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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                            BILLINGS DIVISION

UNITED STATES OF AMERICA,                               CR 20–60–BLG–DLC

                      Plaintiff,

         vs.                                                   ORDER

ELMER BURPEE YARLOTT, II,

                      Defendant.


       After two continuances, trial in this case is set for November 12, 2020.

(Docs. 21, 25.) Pursuant to Federal Rule of Evidence 413(b), the government

timely notified Defendant Elmer Burpee Yarlott, II and the Court of its intent to

offer evidence that Yarlott committed a prior sexual assault. (Docs. 17, 18.) The

parties acknowledge that a pretrial determination on the proffered Rule 413

evidence would be made without the benefit of other “testimonies . . . offered at

trial[,]” United States v. LeMay, 260 F.3d 1018, 1029 (9th Cir. 2001), but they

nevertheless move the Court for a preliminary ruling on its admissibility. (Doc.

30.)

       Although the parties do not characterize it as such, the Court construes the

government’s Unopposed Notice and Request for a Preliminary Ruling Re:

Admissibility of Rule 413 Evidence (Doc. 30) as a motion in limine. “[I]n limine


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rulings are not binding on the trial judge, and the judge may always change his

mind during the course of trial.” Ohler v. United States, 529 U.S. 753, 758 n.3

(2000). So, while the Court is inclined to admit the government’s proffer, as

explained herein, it cautions the parties that it could change course after hearing all

the evidence.

                                       BACKGROUND

       A Grand Jury charged Yarlott by indictment with aggravated sexual abuse,

in violation of 18 U.S.C. §§ 1153(a) and 2241(a)(2). (Sealed Doc. 1.)

Specifically, the Indictment alleges that Yarlott, an Indian person, “knowingly

caused Jane Doe to engage in a sexual act by threatening [her] and placing her in

fear that she would be subjected to death and serious bodily injury[]” in November

2019. (Id.) The alleged crime took place on the Crow Indian Reservation. (Id.)

       As already indicated, the government intends to introduce evidence that

Yarlott committed another sexual assault in 2008.1 (Doc. 17.) To support its

proffer, the United States argues that the circumstances of the 2008 assault closely

mirror the circumstances of the crime alleged in the Indictment. (Doc. 18 at 5–6.)

Yarlott urges the Court to exclude the evidence by emphasizing the eleven-year

gap between the 2008 event and the instant offense. (Doc. 23 at 3–4.) And



1
 The government indicates that it will introduce the prior act evidence through the 2008
complaining witness’ testimony. (Doc. 17.)
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pointing to smaller—but distinct—features of each assault, he attempts to undercut

their broad similarities. (Id.)

      The Court planned to decide the question at trial after it heard all the other

evidence. However, good reasons support the parties’ joint request that the Court

issue a preliminary ruling. The government explains that if the Court rules to

exclude the evidence, it will move to quash the outstanding writ of habeas corpus

(ad testificandum) (Doc. 28), and then decide whether to continue to prosecute the

case. (Doc. 30 at 3.) For his part, Yarlott represents that if the Court overrules his

objection to the prior act evidence, he “will likely resolve this case by plea rather

than trial.” (Id.) Thus, pursuant to the parties’ request, the Court will telegraph

the evidentiary ruling it is inclined to make based on the papers currently before it.

                                         ANALYSIS

      While the Court’s ultimate ruling rests on its balancing probative value

against prejudicial harm pursuant to Federal Rule of Evidence 403, the starting

place for its analysis is Rule 413(a). Cf. United States v. Thornhill, 940 F.3d 1114,

1117 (9th Cir. 2019) (setting out the analytical framework under the analogous

Rule 414(a)).

I.    Rule 413

      Because it aids the Court’s Rule 403 balancing, the Court begins its Rule

413 analysis by recalling the legislative purpose of the rule. Then, although the

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parties appear to concede the point, the Court explains why the proffered evidence

falls within Rule 413’s scope.

      A.     Legislative History

      Offspring of the Violent Crime Control and Law Enforcement Act of 1994,

Rule 413 and its sisters at Rules 414 and 415 “supersede [] Rule 404(b)’s

restriction” against propensity evidence. United States v. Sioux, 362 F.3d 1241,

1244 (9th Cir. 2004) (citations omitted) (alteration in original); see also Fed. R.

Evid. 404(b)(1). Indeed, they “establish[ed] a presumption . . . favoring the

admission of propensity evidence at . . . trials involving charges of sexual

misconduct.” Id. (citations omitted) (emphasis added). For this, the triad of rules

drew—and continues to draw—harsh criticism as “represent[ing] a breach in a

bedrock principle of evidence law that is closely connected to a version of our idea

of due process.” Christopher B. Mueller & Laird C. Kirkpatrick, Federal Evidence

§ 4:83 (4th ed.). For some, that is, Rules 413–415 run contrary to the proposition

that “[c]riminal defendants are not to be judged on the basis of their character, but

on the basis of proof that they committed a particular misdeed, as shown by

evidence peculiar to the facts at hand.” Id.

      Congressional sponsors specifically countered disapproval to Rule 413 by

explaining that “adult-victim sexual assault cases . . . often turn on difficult

credibility determinations” where a defendant “contends that the victim engaged in

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consensual sex and then falsely accused him.” 23 Charles Alan Wright & Arthur

R. Miller, Federal Practice and Procedure Evid. R. 413 (2d ed.) (citing 140 Cong.

Rec. H8991–92, Aug. 21, 1994). Thus, the argument went, propensity evidence is

critical in “accurately deciding cases that would otherwise become unresolvable

swearing matches.” Id. And by imputing a presumption in favor of admission,

Congress intended to put evidence of uncharged sex offenses “on the same footing

as other types of relevant evidence that are not subject to a special exclusionary

rule.” Id.

      To that end, Congress contemplated no “arbitrary or artificial restrictions”

on the admissibility of Rule 413–415 evidence. Id. Particularly relevant in this

case, it imposed no time limit on the evidence which may be admitted under the

trio: “as a practical matter, evidence of other sex offenses by the defendant is often

probative and properly admitted, notwithstanding very substantial lapses of time in

relation to the charged offense[.]” Id. On this point, congressional backers

highlighted the Ninth Circuit’s then-recent decision in United States v. Hadley. Id.

There, declining to adopt an “inflexible rule regarding remoteness in the context of

Rule 404(b),” the court concluded that the similarity of the ten-year-old prior act to

the offense charged “outweigh[ed] concerns regarding its remoteness.” 918 F.2d

848, 851 (9th Cir. 1990).



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      B.     Rule 413 Applied

      So, with Congress’ sweeping intent—well-reasoned or not—in mind, the

Court turns to the practical application of Rule 413 to this case. In pertinent part,

Rule 413 provides:

      In a criminal case in which the defendant is accused of sexual assault,
      the court may admit evidence that the defendant committed any other
      sexual assault. The evidence may be considered on any matter to which
      it is relevant.

Fed. R. Evid. 413(a). Thus, three criteria must be satisfied for the rule to apply:

“first the defendant must be accused of an offense of sexual assault[;] second, the

prior act must be an offense of sexual assault,” United States v. Rogers, 587 F.3d

816, 819–20 (7th Cir. 2009); and third, the proffered evidence must be relevant,

Doe by Glanzer v. Glanzer, 232 F.3d 1258, 1268 (9th Cir. 2000).

      Here, neither party disputes that the criteria are satisfied, and the Court

agrees. First, the charge Yarlott faces—aggravated sexual abuse, in violation of 18

U.S.C. § 2241(a)(2)—qualifies as “sexual assault” under Rule 413. See Fed. R.

Evid. 413(d)(1) (defining “sexual assault” as a crime under federal law involving

any conduct prohibited by 18 U.S.C. chapter 109A).

      Second, while it is unclear from the parties’ papers whether Yarlott was

convicted of the 2008 sexual assault, the Ninth Circuit has rejected the notion “that

district courts may only introduce prior acts . . . for which a defendant has been


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tried and found guilty.” LeMay, 260 F.3d at 1029 (emphasis in original). 2 Instead,

“the admissibility of other act evidence under [Rules 413–415] is governed by

Federal Rule of Evidence 104(b), the rule of conditional relevance.” United States

v. Norris, 428 F.3d 907, 914 (9th Cir. 2005). Thus, if the 2008 act is indeed an

offense for which Yarlott was never convicted, the Court must only examine “all

the evidence 3 in the case and decide[] whether the jury could reasonably find the

conditional fact—[here, that Yarlott sexually assaulted the 2008 complaining

witness]—by a preponderance of the evidence.” Huddleston v. United States, 485

U.S. 681, 690 (1988). Because Yarlott fails to argue otherwise, and based on the

parties’ pretrial representations, the Court concludes that a reasonable jury could

find by a preponderance of the evidence that Yarlott sexually assaulted the 2008

complaining witness.

       Third and finally, nobody disputes that the government’s proffered evidence

“is relevant[,] because common sense suggests that someone with a propensity to

do something is more likely to do the same thing again[;] [t]he evidence, therefore,

makes a fact of consequence more or less likely.” Rogers, 587 F.3d at 821; see




2
  In so doing, the court noted “that the extent to which an act has been proved is a factor that
district courts may consider in conducting the Rule 403 inquiry.” LeMay, 260 F.3d at 1029.
3
  In United States v. Deputee, a Ninth Circuit panel agreed with United States District Court
Judge Susan P. Watters that the complaining witness’ testimony “was sufficient, without more,
to allow a jury to find by a preponderance of the evidence” that the defendant had abused her.
714 F. App’x 778, 780 (9th Cir. 2018).
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Fed. R. Evid. 401 (“Evidence is relevant if: (a) it has any tendency to make a fact

more or less probable than it would be without the evidence; and (b) the fact is of

consequence in determining the action.”).

      Therefore, the 2008 sexual assault falls within the scope of Rule 413.

However, Rules 413–415 “establish[ed] a presumption—but not a ‘blank check’—

favoring the admission of propensity evidence at . . . trials involving charges of

sexual misconduct.” Sioux, 362 F.3d at 1244 (citation omitted). Consequently,

evidence admissible under Rule 413 remains subject to balancing pursuant to Rule

403. Cf. Thornhill, 940 F.3d at 1118.

II.   Rule 403

      Rule 403 provides that relevant evidence may be excluded “if its probative

value is substantially outweighed by a danger of . . . unfair prejudice . . . .”

Because “evidence of a defendant’s prior sex crimes will always present the

possibility of extreme prejudice, . . . district courts must . . . conduct the Rule 403

balancing inquiry in a careful, conscientious manner that allows for meaningful

appellate review of their decisions.” LeMay, 260 F.3d at 1031. To that end, courts

in the Ninth Circuit examine the following five factors to determine whether to

admit Rule 413 evidence:

      (1) the similarity of the prior acts to the acts charged, (2) the closeness
      in time of the prior acts to the acts charged, (3) the frequency of the
      prior acts, (4) the presence or lack of intervening circumstances, and

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      (5) the necessity of the evidence beyond the testimonies already offered
      at trial.

Id. at 1028, 1031 (citation and internal quotation marks omitted); see also Sioux,

362 F.3d at 1243 (applying the LeMay factors to Rule 413 evidence).

Additionally, courts may consider “any other[] [factors] that might have relevance

in a particular case.” LeMay, 260 F.3d at 1031.

      Before analyzing the LeMay factors, however, the Court acknowledges the

“inherently prejudicial nature of [propensity] evidence” admissible under Rule

413. See United States v. Weber, 793 F. App’x 586, 587 (9th Cir. 2020).

However, as already discussed, “Congress has said that in a criminal trial for an

offense of sexual assault, it is not improper [for the jury] to draw the inference that

the defendant committed this sexual assault because he has a propensity to do so.”

Rogers, 587 F.3d at 822. Therefore, “[b]ecause Rule 413 identifies this propensity

inference as proper, the chance that the jury will rely on that inference can no

longer be labeled as ‘unfair’ for purposes of Rule 403 analysis.” Id. Thus, to

exclude evidence based solely on the prejudicial effect of the propensity inference

would be “problematic.” Id. at 823.

      This is not to say, though, that evidence falling within Rule 413 is not per se

non-prejudicial. Id. (explaining that propensity evidence may be improper where

a jury is likely to convict based on the appalling nature of the prior act, or because

they think the defendant is a “bad person” generally deserving of punishment).
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Still, “that prior acts evidence is inflammatory is not dispositive in and of itself.”

LeMay, 260 F.3d at 1030. Instead, a district court must “carefully evaluate the

potential inflammatory nature of the proffered testimony” and balance it against

each factor analyzed below. Id.

       With these principles of prejudice in mind, the Court takes each LeMay

factor in turn.

       A.     Similarity of the Prior Act to the Act Charged

       A prior sexual assault admissible under Rule 413 “need not be identical to

[the charged offense] to have substantial probative value.” United States v.

Erramilli, 788 F.3d 723, 729 (7th Cir. 2015). Here, Yarlott concedes that, “in

broad strokes,” the 2008 sexual assault and the instant alleged assault share

substantial similarities. (See Doc. 23 at 3.) He is right, and the differences on

which he focuses fail to minimize the probative value of the prior sexual assault in

any meaningful way.

       True, the complaining witness to the 2008 assault apparently knew Yarlott

prior to the attack, whereas Yarlott says Jane Doe only entered his vehicle after he

offered her money. (Doc. 23 at 3–4.) And, Yarlott apparently drove around with

the woman in 2008 before allegedly assaulting her; here, the alleged assault

happened shortly after Jane Doe entered Yarlott’s vehicle and she spurned his

advances. (Id.) Additionally, the government does not allege that Yarlott

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demanded that the 2008 complaining witness declare her love for him after

intercourse, nor that he invoked the specter of the cartel’s violence to frighten her

into silence. (Id. at 4.) Here, the allegation is that Yarlott did both to Jane Doe.

(Id.)

        However, these slight differences pale in comparison to the striking

similarities between the two events. In both cases, Yarlott allegedly left drinking

establishments with the complaining witness after midnight. (Doc. 18 at 2–3.)

Both times, Yarlott purportedly propositioned his target once he had driven her

some distance away. (Id.) Each time, the complaining witness exited Yarlott’s

vehicle, but reentered it after either realizing they had driven too far to walk or on

Yarlott’s direct threat of harm. (Id.) Upon reentry, Yarlott allegedly forced

vaginal intercourse without either woman’s consent. (Id.)

        In short, both events involve crimes of opportunity in which Yarlott, after

encountering women at drinking establishments late at night, invited them into his

vehicle, drove them some distance away, asked for sex, and forced them back into

his vehicle on direct threat of violence or by driving so far away that no other

choice was feasible. The 2008 event suggests Yarlott’s propensity to create and

capitalize on a situation where a woman’s ability to run away is severely

compromised. And, the small differences between the two alleged assaults fail to

move the comparative needle. Cf. LeMay, 260 F.3d at 1028 (finding prior acts of

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child molestation “very similar” to charged crimes based on the type of copulation

and the power imbalance involved, notwithstanding the defendant’s youth during

the prior acts and his relative maturity at the time of the charged offenses).

      Because the 2008 prior assault is substantially similar to the crime charged,

it is highly relevant. See id. Thus, the Court finds that the first LeMay factor

weighs in favor of admission.

      B.     Closeness in Time of the Prior Act to the Act Charged

      Without citation, Yarlott baldly asserts that the eleven-year gap between the

prior sexual assault and act charged “is too remote to be of probative value.” (Doc.

23 at 3.) As a preliminary matter, Yarlott’s math ignores the fact that he spent

about half of those eleven years in custody. (Doc. 18 at 7 n.1.) The Ninth Circuit

recently upheld a district court’s evaluation that a ten-year-old prior act was

“relatively close in time” to the charged offense, emphasizing that the defendant

spent seven years of that decade in prison. United States v. Hanson, 936 F.3d 876,

881 n.4 (9th Cir. 2019). During his imprisonment, the court explained, the

defendant was “presumably unable” to commit another offense. Id. Accordingly,

considering Yarlott’s six-year stint in custody, the eleven-year gap is not as remote

as he characterizes.

      And, even without a period of incarceration to close the intervening

temporal gap, “[t]here is no bright line rule for precluding evidence that is remote

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in time.” Thornhill, 940 F.3d at 1120. Indeed, LeMay itself instructs that the

passage of eleven years does “not render the decision to admit relevant evidence of

similar prior acts an abuse of discretion.” 260 F.3d at 1028–29. Furthermore, the

Ninth Circuit has affirmed that even twenty-year periods are not too remote.

United States v. Stern, 391 F. App’x 621, 622 (9th Cir. 2010).4 Similarly,

understanding that Congress meant the temporal scope of Rules 413–415 to be

broad, other circuits have taken a liberal approach to the question of staleness. See,

e.g., United States v. Meacham, 115 F.3d 1488, 1492–95 (10th Cir. 1997)

(affirming admission of 30-year-old prior act); United States v. Larson, 112 F.3d

600 (2d Cir. 1997) (admission of testimony covering events 16–20 years prior to

trial not an abuse of discretion).

       Thus, considering courts’ universal reluctance to say how old is too old, and

based on Yarlott’s tenure in custody during the intervening period, the Court

weighs this factor in favor of admission. Only about five free years stood between

the prior act and the charged offense—events that, as discussed already, bear

striking similarities. See Thornhill, 940 F.3d at 1120 (stating that, “given the



4
  Judge Paez dissented from the Stern panel’s memorandum disposition, in part because he took
umbrage with its finding on this LeMay factor. He explained that, while “courts have sometimes
upheld admission of Rule 414 evidence of acts far in the past, the defendant in those cases had
been an adult at the time of the prior abuse.” Stern, 391 F. App’x at 623 (Paez, J., dissenting)
(collecting cases). Stern, in contrast, had been between 11 and 13 years old when the prior abuse
occurred, and was an adult at the time of the alleged offense. Id. at 622. Judge Paez’s concerns
are inapplicable to this case, as there is no indication that Yarlott was a minor in 2008.
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caselaw,” the district court would have been within its prerogative to find this

factor in favor of the government where ten years stood between the prior act and

the charged offense); see also Hadley, 918 F.2d at 851 (finding that the similarity

of the ten-year-old prior act to the offense charged outweighed concerns regarding

remoteness).

      C.       Frequency of the Prior Act

      The government concedes that the third LeMay factor weighs in Yarlott’s

favor, as the prior act constitutes “a single act of sexual misconduct.” (Doc. 18 at

7.) Thus, the Court weighs this factor against admission. See United States v.

Birdsbill, 97 F. App’x 721, 723 n.2 (explaining that LeMay’s interpretation of

frequency concerns “the number of prior acts the defendant committed regardless

of the victim’s identity”).

      D.       Presence or Lack of Intervening Circumstances

      Yarlott contends that the “significant” lapse of time between the instant

offense and the 2008 sexual assault constitutes an intervening circumstance that

should weigh against admission. (Doc. 23 at 4.) However, the Ninth Circuit

rejected a similar argument in Stern, concluding that “the fact that [the defendant]

engaged in unlawful sexual acts . . . as a teenager . . . and then again as an adult,

[does not] suggest that the passage of time constitutes an intervening circumstance

that favors him under the fourth factor.” 391 F. App’x at 622. Thus, and because

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doing otherwise would result in contradictory conclusions on the second and fourth

factors, the Court rejects this argument.

       In contrast, the government properly points to the years during the

intervening period that Yarlott spent in custody as weighing in favor of admission.

(Doc. 18 at 7.) Noting that the second, third, and fourth Lemay factors may be

“inseverably linked and [therefore] must be analyzed together[,]” the Ninth Circuit

has considered intervening periods of incarceration as appropriate fodder under

this factor. See, e.g., United States v. Charles, 691 F. App’x 367, 370 (9th Cir.

2017). Again, the circumstance of incarceration is relevant because the defendant

is presumably unable to continue a pattern of criminal behavior while he sits in jail.

Hanson, 936 F.3d at 881 n.4.

       Therefore, in view of the intervening years that Yarlott spent in custody, the

Court weighs this factor in favor of admission.

       E.      Necessity of the Prior Act Evidence5

       “Prior acts evidence need not be absolutely necessary to the prosecutor’s

case in order to be introduced; it must simply be helpful or practically necessary.”

LeMay, 260 F.3d at 1029 (emphasis in original). In this case, it seems likely that



5
  It bears repeating here that the Court’s pretrial ruling is preliminary and subject to change at
trial. This last LeMay factor explicitly illustrates why: district courts should consider the
necessity of the proffer in light of the “testimonies already offered at trial.” 260 F.3d at 1031
(emphasis added).
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Yarlott will attack the credibility of Jane Doe and capitalize on the lack of

eyewitness and expert testimony.6 Specifically, Yarlott appears to be laying the

groundwork to argue that Jane Doe agreed to have sex with him in exchange for

money. (See Doc. 23 at 4.) Therefore, evidence of the 2008 event is

“necessary”—even if the prosecutor could possibly obtain a conviction without

it—because it serves to bolster Jane Doe’s credibility in the face of charges that

she consented to a financial exchange that she now regrets. Cf. LeMay, 260 F.3d at

1029. As the government points out, this is exactly the type of “swearing match”

Congress sought to resolve by enacting Rule 413. See 140 Cong. Rec. H8991–92,

Aug. 21, 1994.

       Furthermore, as was the case in LeMay, testimony about the 2008 act is

necessary to establish that it was very similar, and thus relevant, to the charged

offense. Id. In other words, the Court is likely to reject any argument from Yarlott

that the 2008 complainant’s testimony should be limited to the fact of the act.

Here, like LeMay, “the relevance of the prior act [is] in the details.” Id. And,

establishing the simple fact of the 2008 event would fail to “fill in the details that

made the prior [sexual assault] relevant.” Id. at 1030.




6
  Yarlott does not dispute the government’s prediction about his primary defense. (See Doc. 23
at 4–5.)
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       Therefore, because it will serve to corroborate Jane Doe’s testimony—where

Yarlott’s primary defense will likely be to attack her credibility and imply some

sex-for-money transaction—evidence of the 2008 act is “necessary” within

LeMay’s meaning. The Court is likely to weigh this final factor in favor of

admission.

III.   Minimizing the Risk of Unfair Prejudice

       Because the Court is inclined to weigh four of the five LeMay factors in

favor admitting the prior act evidence, it is compelled to indicate the procedural

safeguards it will likely impose at trial to prevent any unfair prejudice.

       First, the Court will admonish the government to “limit its presentation to

evidence that is necessary to convey the essential facts underlying the [] prior

offense[] and limit the emotional testimony from the prior victim.” See Erramilli,

788 F.3d at 730 (internal quotation marks omitted). Second, the Court will likely

give the jury something in the ilk of the following limiting instruction before the

prosecution presents its Rule 413 evidence:

       You are going to hear testimony from this witness and this testimony
       has a limited purpose. The limited purpose is [that] it may bear on the
       credibility of witnesses from whom you have already heard testimony.
       The evidence you are about to hear is not evidence of guilt in this case
       of the defendant, per se, it is evidence that can be considered by you for
       any purpose to which it is relevant in terms of the issues in this case.

LeMay, 260 F.3d at 1023–24. Third, after both sides rest, the Court probably will

remind the jury that Yarlott is “on trial for the acts charged in the [I]ndictment, and
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not for the [2008 sexual assault].” Id. at 1024. And fourth, the Court will almost

certainly give a final limiting instruction to the jury, again reminding it that Yarlott

“is not on trial for any conduct or offense that is not charged in the [I]ndictment.

[The jury] should consider any evidence about other acts of the defendant that [it]

ha[s] heard . . . only as those acts may bear on the matter that is relevant in this

case.” Id.

                                        ORDER

      For the foregoing reasons, IT IS ORDERED, in limine, that: (1) the evidence

of the prior act is admissible under Rule 413; and (2) because it weighs four of the

five LeMay factors in favor of admission pursuant to Rule 403, the Court is

inclined to admit the prior act evidence at trial.

      DATED this 2nd day of November, 2020.




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